              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:09cr26-8


UNITED STATES OF AMERICA,       )
                                )
              Plaintiff,        )
                                )
         v.                     )                ORDER
                                )
STEPHANIE I. MASON,             )
                                )
              Defendant.        )
_______________________________ )


      THIS MATTER is before the Court on the Defendant’s letter, which the

Court construes as a motion to modify her sentence. [Doc. 355].

      On April 7, 2009, the Defendant was charged in a bill of indictment

along with thirteen other co-defendants with conspiracy to possess with

intent to distribute a quantity of cocaine base, in violation of 21 U.S.C. §§

846 and 841(a)(1) (Count One) and use of a communication facility in

furtherance of the conspiracy, in violation of 21 U.S.C. § 843(b) (Count

Two). [Doc. 1]. On June 19, 2009, the Defendant entered a plea of guilty

to Count One of the Indictment pursuant to a plea agreement. The

Defendant was sentenced on May 19, 2010. At sentencing, the Court

granted the Government’s motion for a downward departure and reduced



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the Defendant’s sentence from a 60-month statutory minimum to 46

months of imprisonment. [Doc. 338]. The Defendant did not appeal her

sentence to the Fourth Circuit Court of Appeals.

        The Defendant now moves the Court to reduce her sentence. For

grounds, the Defendant states that her counsel convinced her to sign the

plea agreement based upon his representation that she would be

sentenced to a term of 22 months. She further states that she is suffering

from numerous health problems which require medical attention. [Doc.

355].

        The Defendant's motion must be denied. Pursuant to 18 U.S.C. §

3582(c), the Court may reduce or modify a sentence only: (1) upon motion

of the Director of the Bureau of Prisons if certain extraordinary and

compelling reasons warrant a reduction; (2) under the express authority of

Rule 35 of the Rules of Criminal Procedure, which provides that the Court

may correct a clear error in a sentence within 14 days after sentencing or

reduce a sentence upon motion by the Government for the defendant's

substantial assistance; or (3) when a defendant is sentenced to a term of

imprisonment based upon a sentencing range that was subsequently

lowered by the United States Sentencing Commission. See 18 U.S.C. §



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3582(c). None of these circumstances are applicable in the present case.

Accordingly, the Defendant's motion for a modification of her sentence

must be denied.

     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

letter, which the Court construes as a motion to modify her sentence [Doc.

355] is DENIED.

     IT IS SO ORDERED.




                                         Signed: August 4, 2010




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